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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                           CRIMINAL CASE NO.: 9:22-mj-08332-BER-1

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  SEALED SEARCH WARRANT,

        Defendant.
  _________________________________/

                        MOTION TO APPEAR PRO HAC VICE,
                    CONSENT TO DESIGNATION, AND REQUEST TO
              ELECTRONICALLY RECEIVE NOTICES OF ELECTRONIC FILING

         In accordance with Local Rules 4(b) of the Rules Governing the Admission, Practice, Peer

  Review, and Discipline of Attorneys of the United States District Court for the Southern District

  of Florida, the undersigned respectfully moves for the admission pro hac vice of Paul J. Orfanedes,

  Esquire of Judicial Watch, Inc., 425 Third Street, S.W., Suite 800, Washington, DC 20024, for

  purposes of appearance as co-counsel on behalf of Movant Judicial Watch, Inc. in the above-styled

  case only, and pursuant to Rule 2B of the CM/ECF Administrative Procedures, to permit Paul J.

  Orfanedes, Esquire to receive electronic filings in this case, and in support thereof states as follows:

         1.      Paul J. Orfanedes, Esquire is not admitted to practice in the Southern District of

  Florida and is a member in good standing of the bars of the District of Columbia, Illinois and

  Maryland as well as the bars of the following U.S. Courts: U.S. Supreme Court, U.S. Court of

  Appeals for the Second Circuit, U.S. Court of Appeals for the Third Circuit, U.S. Court of Appeals

  for the Fourth Circuit, U.S. Court of Appeals for the Fifth Circuit, U.S. Court of Appeals for the

  Sixth Circuit, U.S. Court of Appeals for the Seventh Circuit; U.S. Court of Appeals for the Eighth




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  Circuit; U.S. Court of Appeals for the Ninth Circuit, U.S. Court of Appeals for the Eleventh

  Circuit, U.S. Court of Appeals for the District of Columbia Circuit, U.S. Court of Appeals for the

  Federal Circuit, U.S. District Court for the District of Columbia, U.S. District Court for the

  Northern District of Illinois, U.S. District Court for the Southern District of Illinois, and U.S.

  District Court for the District of Maryland.

         2.         Movant, James C. Moon, Esquire, of the law firm of MELAND BUDWICK, P.A.,

  3200 Southeast Financial Center, 200 South Biscayne Boulevard, Miami, Florida 33131, is a

  member in good standing of The Florida Bar and the United States District Court for the Southern

  District of Florida and is authorized to file through the Court’s electronic filing system. Movant

  consents to be designated as a member of the Bar of this Court with whom the Court and opposing

  counsel may readily communicate regarding the conduct of the case, upon whom filings shall be

  served, who shall be required to electronically file and serve all documents and things that may be

  filed and served electronically, and who shall be responsible for filing and serving documents in

  compliance with the CM/ECF Administrative Procedures. See Section 2B of the CM/ECF

  Administrative Procedures.

        3.      In accordance with the local rules of this Court, Paul J. Orfanedes, Esquire has made

 payment of this Court’s $200.00 admission fee. A certification in accordance with Rule 4(b) is

 attached hereto.

        4.      Paul J. Orfanedes, Esquire by and through designated counsel and pursuant to

 Section 2B CM/ECF Administrative Procedures, hereby requests the Court to provide Notice of

 Electronic Filings to Paul J. Orfanedes, Esquire at email address: porfanedes@judicialwatch.org.

        WHEREFORE, James C. Moon, Esquire, moves this Court to enter an Order Paul J.

 Orfanedes, Esquire, to appear before this Court on behalf of Movant Judicial Watch, Inc., for all




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 purposes relating to the proceedings in the above-styled matter and directing the Clerk to provide

 notice of electronic filings to Paul J. Orfanedes, Esquire.

        Dated: August 11, 2022.                 Respectfully Submitted,

                                                MELAND BUDWICK, P.A.
                                                3200 Southeast Financial Center
                                                200 South Biscayne Boulevard
                                                Miami, Florida 33131
                                                Telephone: (305) 358-6363
                                                Facsimile: (305) 358-1221

                                                /s/ James C. Moon
                                                Michael S. Budwick, Esquire
                                                Florida Bar No. 938777
                                                mbudwick@melandbudwick.com
                                                James C. Moon, Esquire
                                                Florida Bar No. 938211
                                                jmoon@melandbudwick.com



                                               Counsel for Movant Judicial Watch, Inc.




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